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                                                             Asset Cases
Case No.:    19-07235                                                                           Trustee Name:      (620290) Jeanne Ann Burton
Case Name:         CUMMINGS MANOOKIAN, PLLC                                                     Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                                § 341(a) Meeting Date:       12/02/2019
For Period Ending:         03/31/2021                                                           Claims Bar Date:      04/01/2020

                                       1                                  2                    3                      4                    5                    6

                           Asset Description                           Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                        Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                and Other Costs)

   1*       Accounts Receivable (See Footnote)                          70,000.00                       0.00                                   0.00                          FA

    2       Office Equipment/ Furn (Debtor does not                           0.00                      0.00                                   0.00                          FA
            own any)

   3*       Costs due in various cases                                   Unknown                        0.00                                   0.00                          FA
            There are cases where costs have been advanced in
            lawsuits contingent upon cases being successfully
            resolved but are presently unrealized due to the cases
            being pending without resolution. (See Footnote)

    4       A/R Case BaHC                                                     0.00                 11,680.64                              11,680.64                          FA
            Potential Attorney Fees/Costs for confidential case
            Trustee

   5*       A/R Case BaHu                                                     0.00                      0.00                                   0.00                          FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   6*       A/R Case BeLb                                                     0.00                      1.00                                   0.00                     1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   7*       A/R Case BrRe                                                     0.00                      1.00                                   0.00                     1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   8*       A/R Case DyVa                                                     0.00                      0.00                                   0.00                          FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

    9       A/R Case KnRi                                                     0.00                 19,286.13                              19,286.13                          FA
            Potential Attorney Fees/Costs for confidential case

  10*       A/R Case MiVa                                                     0.00                      1.00                                   0.00                     1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   11       A/R Case RuAr                                                     0.00                 28,884.58                              28,884.58                          FA
            Potential Attorney Fees/Costs for confidential case

  12*       A/R Case SaRo                                                     0.00                      0.00                                   0.00                          FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

  13*       A/R Case ShVa                                                     0.00                      1.00                                   0.00                     1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   14       A/R Case ThSi - Preference DE 56 (u)                              0.00                 23,637.22                              23,637.22                          FA

  15*       A/R Case WaMo                                                     0.00                      1.00                                   0.00                     1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

  16*       A/R Case WhPa                                                     0.00                      0.00                                   0.00                          FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)


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                                                             Asset Cases
Case No.:    19-07235                                                                         Trustee Name:      (620290) Jeanne Ann Burton
Case Name:         CUMMINGS MANOOKIAN, PLLC                                                   Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                              § 341(a) Meeting Date:       12/02/2019
For Period Ending:         03/31/2021                                                         Claims Bar Date:      04/01/2020

                                       1                                2                    3                      4                   5                     6

                           Asset Description                        Petition/        Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled       (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                     Values                Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                              and Other Costs)

  17*       A/R Case WoMi                                                   0.00                      0.00                                   0.00                          FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

  18*       A/R Case FiOs Adversary 320:ap-90002                   1,400,000.00             1,400,000.00                                     0.00           1,400,000.00
            Disputed Attorney Fees/Costs for confidential case
            (See Footnote)

   19       A/R Case West MDL Settlement (u)                            3,739.85                 3,739.85                               3,739.85                           FA
            Fees/Costs for confidential casse


  19        Assets Totals (Excluding unknown values)              $1,473,739.85            $1,487,233.42                             $87,228.42           $1,400,005.00


        RE PROP# 1             See itemized individual receivable assets

        RE PROP# 3             Each cost is part of the individually itemized receivable case assets

        RE PROP# 5             CM will not receive fees in this case.

        RE PROP# 6             Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered.
        RE PROP# 7             Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered.
        RE PROP# 8             CM will not receive fees in this case.

        RE PROP# 10            Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered.
        RE PROP# 12            CM will not receive fees in this case.

        RE PROP# 13            Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered.
        RE PROP# 15            Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered.
        RE PROP# 16            CM will not receive fees in this case.

        RE PROP# 17            CM will not receive fees in this case.

        RE PROP# 18            Case settled. Adversary 320-ap-90002 pending re dispute as to entittlement of fees. $715,000.00 of the fees ordered in
                               escrow with Court.




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                                                     Asset Cases
Case No.:   19-07235                                                         Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                      Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                             § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2021                                            Claims Bar Date:     04/01/2020


Major Activities Affecting Case Closing:

                           schedules are at DE 1,7,9 and 10
                           11/18/19-motion to employ P. Young filed
                           12/2/19- documents requested at the moc
                           12/3/19 e-mail to J. Lefkovitz re bank statements and credit card statements and documents requested at
                           moc
                           12/9/19-objection to motion to employ P. Young filed; hearing is 12/17/19
                           12/10/19 attend hearing on TRO against Hagh Law in Lawrenceberg
                           12/11/19 review proposed TRO order
                           12/11/19 discuss witness and exhibit list with P. Young for motion to employ special counsel
                           12/13/19 t/c John Konvilinka re appeal-his name was given to me by debtor's counsel;e-mail to debtor's
                           counsel re supplying info
                           12.13.19 t/c Charles Malone at Butler Snow re appeal-he represents the appellees
                           12/17/19 hearing on Motion to employ speical counsel- court took matter under advisement
                           12/20/19-order re: TE app to employ special counsel gives the TE until 12/24/19 to file supp. app and more
                           info
                           12/21/19-supplement to app. of TE to employ special counsel filed
                           12/23/19-order granting application to employ Thompson Burton PLLC entered
                           12/23/19-B. Manookian filed request for leave to respond in opposition and objection to app. to employ
                           Thompson Burton PLLC
                           12/23/19-prep of suggestion of bk in Ct. of Appeals
                           12/26/19-order denying B. Manookain request for leave to respond entered
                           1/2/2020-prep of suggestion of bk in Circuit Ct (mail)
                           1/2/2020-send demand letter to A. Hagh (to d/m case against Debtor)-reg and cert. mail
                           1/2/2020-file asset notice; last day to file claims is 4/1/2020
                           1/3/2020- review order from COA re oral arugument
                           1/8/2020-adversary complaint filed
                           1/8/2020-expedited motion/order for turnover of funds filed
                           1/9/2020-order setting hearing on motion for turnover of funds entered, deadline to object to the relief is
                           1/14/2020 at 4pm; hearing is scheduled for 1/15/2020 at 1:30pm
                           1/14/20-objection to expedited motion for turnover filed
                           1/14/20-NOA filed by John Spragens-attorney for Hagh Law
                           1/14/20-Plaintiff's reply to objection of Hagh Law PLLC filed
                           1/15/20-Hagh Law filed motion to strike Plaintiff's reply to objection
                           1/15/20-summons and notice of pretrial -pretrial is 3/10/20
                           1/15/20 attend hearing on motion for turnover of funds
                           1/16/20-order entered for turnover of funds-funds to be deposited with Bk Court Clerk by 11:59 pm 1/21/20;
                           final hearing will be 2/5/20
                           1/17/20 review order re turnover of funds and setting final hearing
                           1/28/20-review poc filed by Grant Konvlinka-based on default judgment
                           1/28/20-motion to compel turnover of records filed; hearing is 2/11/20 (responses due by 2/7/20)
                           1/31/20-prep and file motion for sanctions for violation of automatic stay-Hagh Law/Afsoon Hagh
                           1/31/20-review NOA filed by Craig Gabbert (had returned earlier phone call)
                           2/3/20 -phone call with C. Gabbert, atty for Ms. Hagh and Hagh Law
                           2/3/20-hearing on motion for turnover of records rescheduled to 2/18/20
                           2/3/20-hearing on motion for sanctions is 2/18/20
                           2/6/20-order on expedited motion for turnover of funds sumbitted (Clerk to continue to hold the $715,000)
                           2/7/20-response to motion to compel filed by B. Mannokian and S. Lefkovitz
                           2/7/20-proposed a/o submitted re: complaint in Circuit Court dismissed and motion for sanctions is moot
                           2/11/20-hearing on motion to compel turnover of records continued to 3/3/20
                           2/24/20-motion for entry of default against defendants in adversary was filed
                           2/24/20-entry of default entered in the adversary
                           3/3/20-hearing on motion to compel continued to March 24, 2020
                           3/3/20-motion to continue pretrial conference in adversary to March 24, 2020 filed
                           3/4/20 consult with L. Williams re any requirment to file 2019 return-no requirement
                           3/10/20-agreed order for turnover of monies held by Receiver filed
             Case      3:19-bk-07235          Doc to
                           3/13/20-prep of motion    97employ
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                                                                Accountant
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                                                     Asset Cases
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Case Name:     CUMMINGS MANOOKIAN, PLLC                                      Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                             § 341(a) Meeting Date:    12/02/2019
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                           3/16/20 answers filed in adv proceeding; entry of default will be withdrawn
                           3/17/20 hearing on motion for turnover will be continued to 4/21/20; pretrial continued also
                           4/1/20 e-mail to D. Puryear re order for turnover for funds
                           4/7/20-file order to employ Accountant-had wrong effective date on it
                           4/7/20-filed amended order to employ Accountant
                           4/14/20-motion to continue hearing on motion to compel and adversary pretrial conference filed
                           4/15/20-order continuing hearings to May 19 at 10:15 am entered
                           4/25/20-motion to approve fee/expense division filed
                           5/15/20-motion to continue hearing on turnover of records and motion to continue pretrial in adv. filed
                           5/18/20-order to continue hearing on turnover and pretrial to June 30, 2020 entered
                           518/20-objection to motion to approve fee and expense division filed; hearing is scheduleld for 5/26/20 at 10
                           am
                           5/22/20-motion to cont. hearing on motion to approve fee/expense division filed; expedited order submitted
                           5/26/20-order to cont. hearing on motion to approve fee/expense division entered-hearing will be 6/9/20
                           6/9/20-order approving fee and expense division among Debtor and Cummings Law filed
                           6/29/20-motion and expedited order to continue hearing on motion to compel turnover filed
                           6/29/20-order to continue hearing entered; hearing is 8/18/20 at 10:15 am (Telephonic)
                           8/17/20-joint pretrial statement filed in adv. 20-90002
                           8/19/20-adv pretrial has been continued to 1/12/2021 at 10:15 am
                           8/19/20-order compelling turnover of documents entered
                           9/3/20-review e-mail and phone call with P. Young re document production
                           9/28/20- follow up with P. Young re documents and written discovery
                           10/30/20-prep of notice of status of bk case to be filed in Ct. of Appeals
                           11/9/20-e-mail to P. Young re written discovery
                           11/23/20 review draft of written discovery
                           12/16/20 review e-mail from P. Young responding to requests for additional time to respond to written
                           discovery
                           1/12/21 pretrial conference has been continued for 90 days; written discovery is outstanding
                           2/1/21 review discovery responses and requests; t/c P. Young
                           2/24/21-pretrial conference rescheduled for 4/16/21
                           2/25/21 responses for request for admissions sent to Mr. Spragens
                           3/2/21-email and mailed to P. Young- plaintiff's responses to first and second set of written discovery
                           3/3/21-motion for stay of all discovery; hearing is 4/7/21 at 11am
                           3/12/21-prep of letter to BK Clerk for certified copies
                           3/17/21-t/c S. Lefkovitz re funds collected in state court receivership
                           3/28/21- response to motion to stay filed
                           4/2/21- discuss tax filing requirements with L.Williams
                           4/2/21- t/c P. Young re upcoming hearing on motion to stay discovery in adversary proceeding
                           4/7/21-motion to stay discovery is granted in part; discovery is stayed at least through 5/26/21. Hearing set
                           for 5/26/21
                           4/7/21-pretrial conference continued to 5/26/21


Initial Projected Date Of Final Report (TFR): 12/31/2020             Current Projected Date Of Final Report (TFR):   03/31/2022




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